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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 18-24227-CIV-ALTONAGA/Goodman

  JASON MILLER,

         Plaintiff,
  v.

  GIZMODO MEDIA GROUP, LLC, et al.,

        Defendants.
  ___________________________________/

                                               ORDER

         THIS CAUSE came before the Court on Plaintiff, Jason Miller, and Defendant, William

  Menaker’s Joint Status Report Regarding Jurisdictional Discovery [ECF No. 67], filed January

  23, 2019.    In the Report, the parties advise the Court they have completed jurisdictional

  discovery. (See id. 1). Accordingly, it is

         ORDERED AND ADJUDGED as follows:

              1. Mr. Menaker shall file his motion to dismiss as a separate docket entry by

                 January 24, 2019.

              2. Plaintiff, Jason Miller, shall respond to the motion to dismiss by February 7,

                 2019. Mr. Menaker may file a reply memorandum by February 14, 2019. These

                 deadlines will not be extended.

         DONE AND ORDERED in Miami, Florida, this 24th day of January, 2019.


                                                       _________________________________
                                                       CECILIA M. ALTONAGA
                                                       UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
